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                            11   Counsel for the Official
                                 Committee of Tort Claimants
B AKER & H OSTE TLER LLP

  S AN F RANCISCO , CA
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                            12
                                                           UNITED STATES BANKRUPTCY COURT
                            13
                                                           NORTHERN DISTRICT OF CALIFORNIA
                            14
                                                                  SAN FRANCISCO DIVISION
                            15
                                 In re:                                              Bankruptcy Case
                            16                                                       No. 19-30088 (DM)
                                 PG&E CORPORATION,
                            17                                                       Chapter 11
                                          - and -                                    (Lead Case)
                            18                                                       (Jointly Administered)
                                 PACIFIC GAS AND ELECTRIC
                            19   COMPANY,
                                                     Debtors.                        CERTIFICATE OF NO OBJECTION
                            20                                                       REGARDING FOURTH MONTHLY
                                                                                     FEE STATEMENT OF BAKER &
                            21                                                       HOSTETLER LLP FOR
                                 □ Affects PG&E Corporation                          ALLOWANCE AND PAYMENT OF
                            22                                                       COMPENSATION AND
                                 □ Affects Pacific Gas and Electric Company          REIMBURSEMENT OF EXPENSES
                            23                                                       FOR THE PERIOD MAY 1, 2019
                                 ■ Affects both Debtors                              THROUGH MAY 31, 2019
                            24   * All papers shall be filed in the Lead Case,       [Re: Docket No. 2798]
                                 No. 19-30088 (DM).
                            25
                                                                                     OBJECTION DATE: July 22, 2019
                            26
                            27

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                           Case: 19-30088      Doc# 3142     Filed: 07/23/19     Entered: 07/23/19 08:30:43   Page 1 of
                                                                         4
                             1   THE MONTHLY FEE STATEMENT

                             2           On July 1, 2019, Baker & Hostetler LLP (“Baker” or the “Applicant”), attorney for the

                             3   Official Committee of Tort Claimants (“Tort Committee”), filed its Fourth Monthly Fee
                             4   Statement of Baker & Hostetler LLP for Allowance and Payment of Compensation and
                             5
                                 Reimbursement of Expenses for the Period of May 1, 2019 through May 31, 2019 [Docket No.
                             6
                                 2798] (the “Fourth Monthly Fee Statement”), pursuant to the Order Pursuant to 11 U.S.C.. §§
                             7
                                 331 and 105(a) and Fed. R. Bank. P. 2016 for Authority to Establish Procedures for Interim
                             8

                             9   Compensation and Reimbursement of Expenses of Professionals, entered on February 28, 2019

                            10   [Docket No. 701] (the “Interim Compensation Procedures Order”).

                            11           The Fourth Monthly Fee Statement was served as described in the Certificate of Service of
B AKER & H OSTE TLER LLP

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                            12   Tanya Kinne, filed on July 1, 2019, [Docket. No. 2801]. The deadline to file responses or
                            13
                                 oppositions to the Fourth Monthly Fee Statement was July 22, 2019, and no oppositions or
                            14
                                 responses have been filed with the Court or received by the Applicant. Pursuant to the Interim
                            15
                                 Compensation Procedures Order, the above captioned debtors and debtors-in-possession are
                            16
                            17   authorized to pay the Applicant eighty percent (80%) of the fees and one hundred percent (100%)

                            18   of the expenses requested in the Fourth Monthly Fee Statement upon the filing of this certification

                            19   and without the need for a further order of the Court. A summary of the fees and expenses sought
                            20
                                 by the Applicant is attached hereto as Exhibit A.
                            21
                                 DECLARATION OF NO RESPONSE RECEIVED
                            22
                                         The undersigned hereby declares, pursuant to 28 U.S.C. § 1746, under penalty of perjury,
                            23
                                 that:
                            24

                            25           1.     I am a partner of the firm of Baker & Hostetler LLP and Counsel for the Official

                            26   Committee of Tort Claimants.
                            27

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                                                                        4
                             1          2.     I certify that I have reviewed the Court’s docket in this and case and have not

                             2   received any response or opposition to the Fourth Monthly Fee Statement.
                             3          3.     This declaration was executed in San Francisco, California.
                             4
                                 Dated: July 23, 2019                        Respectfully submitted,
                             5
                                                                             BAKER & HOSTETLER LLP
                             6

                             7

                             8                                               By: _/s/ Cecily A. Dumas        ______
                                                                                     Cecily A. Dumas
                             9
                                                                             Counsel for the Official
                            10                                               Committee of Tort Claimants
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B AKER & H OSTE TLER LLP

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                                                                       4
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                             2                                                      EXHIBIT A
                             3                                          Professional Fees and Expenses
                                                                        Fourth Monthly Fee Application
                             4

                             5
                                  Applicant           Fee        Total Fees       Total      Objection       Fees         Expenses    Amount of
                                                 Application     Requested      Expenses     Deadline    Authorized to   Authorized   Holdback
                             6                     Period,                      Requested                 be Paid at     to be Paid     Fees
                                                 Filing Date,                                                80%          at 100%
                             7                   Docket No.
                                  Baker &       Fourth          $2,491,937.25   $70,017.53   7/22/2019   $1,993,549.80   $70,017.53   $498,387.45
                             8    Hostetler     Monthly
                                  LLP
                             9                  5/1/19 to
                                  Counsel for   5/31/19
                                  Official
                            10    Committee     [Docket No.
                                  of Tort       2798 filed
                            11    Claimants     7/1/2019
B AKER & H OSTE TLER LLP

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                                                                              4
